      Case 5:24-cv-01154-JFW-AJR            Document 1       Filed 05/31/24        Page 1 of 5 Page ID #:1




      1   Name: ~ ~\~C~ ~1~ ,~~ ~~
                                                                      CLERK, U.S. DISTRICT COURT
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     2 Address:~~;~ (~~`
     3                                                                         MAY 3
     4 Phone: ~~1 ~- - ~.5 d - ~~-i~
                                                                     ;ENTRAI DISTRICT OF CALIFORNIA
                                                                     :ASTERN DIVISION     BY DEPUTY
     5    Plaintiff In Pro Per
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'~1~~ g
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
     9                                               E DCV24-01 154-~' ~~'~x
     10 ~~~~ ~~~1~                                   ) Case No.:
                                                                      (To be supplied by the Clerk)
     11                        PLAINTIFF,            ~ COMPLAINT FOR:
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     15
     16
     17                                                    Jury Trial Demanded
     18                        DEFENDANT(S).         ~
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    20
                                             I.JURISDICTION
    21
    22              1. This Court has jurisdiction under
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    26
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 1
                                V. CAUSES OF ACTION
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 3
 4
                             FIRST CAUSE OF ACTION
 5
 6                               insert title ofcause ofaction

 7         (As against Defendant(s):~~~~ t~ 'tiO.~~—
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               ~,tserr ¶ #
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 1                          IV. STATEMENT OF FACTS
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 1                                     II. VENUE
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 3             2. Venue is proper pursuant to ~'~~~G~ ~       ~~~ -~
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                                      III. PARTIES
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11
12 3.          Plaintiff's name is~~~~ ~~~c~                      .Plaintiff resides
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               4. Defendant~~~- ~ 7~ I~,L~~'r-
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24             5. Defendant
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 Case 5:24-cv-01154-JFW-AJR             Document 1      Filed 05/31/24    Page 5 of 5 Page ID #:5




                                 VII. DEMAND FOR JURY TRIAL
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 4             Plaintiff hereby requests a jury trial on all issues raised in this complaint.
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 7                                        Dated:      ~ ~~~~
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 9
10                                        Sign:~                ~~ ~`~ ~~

11                                 Print Name:~~~-~ ~~~l~
12                                               Plaintiff in pro per
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     Pro Se Clinic Form                        Page Number
